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                       UNITED STATES DISTRICT COURT                        Eastern D1Btl'l~t of Kentucky
                       EASTERN DISTRICT OF KENTUCKY                               FI         D
                            NORTHERN DIVISION
                                COVINGTON                                       MAY 1 3 2010
                                                                                   AT COVINGTON
UNITED STATES OF AMERICA                                                         LESLIE G W:-lITMER
                                                                             CLERK U S D!STRICT COURT



V.                                                INDICTMENT NO.


VERLIN BRETT BAILEY

                                       * * * * *
THE GRAND JURY CHARGES:

                                       COUNT 1
                                   18 U.S.C. § 22S1(a)

      On or about January 12, 2010, in Boone and Kenton Counties, in the Eastern

District of Kentucky, and elsewhere,

                               VERLIN BRETT BAILEY

did knowingly employ, use, persuade, induce, entice, and coerce a minor to engage in

sexually explicit conduct for the purpose of producing a visual depiction of such conduct,

using materials that had been mailed, shipped, and transported in and affecting interstate

and foreign commerce, all in violation of 18 U.S.C. § 2251(a).

                                       COUNT 2
                                  18 U.S.c. § 22S2(a)(2)

       On or about January 12,2010, in Boone County, in the Eastern District of

Kentucky, and elsewhere,

                               VERLIN BRETT BAILEY
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did knowingly receive visual depictions that had been shipped and transported in and

affecting interstate commerce, using any means or facility of interstate commerce, and the

production of said visual depictions involved the use of a minor engaging in sexually

explicit conduct and the visual depictions were of such conduct, all in violation of 18

U.S.C. § 2252(a)(2).

                                        COUNT 3
                                     18 U.S.C. § 1470

       On or about January 12,2010, in Boone County, in the Eastern District of

Kentucky, and elsewhere,

                               VERLIN BRETT BAILEY

did, by means of interstate commerce, knowingly transfer obscene matter to another

individual who had not attained the age of 16 years, knowing that the other individual had

not attained the age of 16 years, all in violation of 18 U.S.C. § 1470.

                             FORFEITURE ALLEGATION
                                  18 U.S.c. § 2253

       By virtue of the commission of the offenses alleged in Counts 1-3 of this

Indictment, any and all interest VERLIN BRETT BAILEY has in the Nokia cellular

telephone Model 2330c-2b, seized on January 14,2010, is vested in and forfeited to the

United States pursuant to 18 U.S.C. § 2253.

                                                         A TRUE BILL
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                                    PENALTIES

COUNT 1:          Not less than 15 years nor more than 30 years imprisonment, not
                  more than a $250,000 fine, and supervised release for not less than 5
                  years nor more than life.

COUNT 2:          Not less than 5 years nor more than 20 years imprisonment, not more
                  than a $250,000 fine, and supervised release for not less than 5 years
                  nor more than life.

COUNT 3:          Not more than 10 years imprisonment, a $250,000 fine, and 3 years
                  supervised release.

FORFEITURE:       Forfeiture of listed assets.

PLUS:             Mandatory special assessment of$100 per felony count.

PLUS:             Restitution, if applicable.
